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S C H I L L E R




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                    14                 UNITED STATES DISTRICT COURT
                    15        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
B O I E S




                    16 BROIDY  CAPITAL MANAGEMENT
                       LLC and ELLIOTT BROIDY,
                                                                   Case No. 18-cv-02421-JFW

                    17                                             APPLICATION TO CONTINUE
                                 Plaintiffs,                       HEARING ON STONINGTON
                    18                                             DEFENDANTS’ MOTION TO
                              v.                                   DISMISS THE FIRST AMENDED
                    19 STATE OF QATAR, STONINGTON                  COMPLAINT

                    20 STRATEGIES  LLC, NICOLAS D.
                       MUZIN, GLOBAL RISK ADVISORS
                                                                   [[Proposed] Order Continuing Hearing
                                                                   and supporting Declaration of Lee
                    21 LLC, KEVIN CHALKER, DAVID
                       MARK POWELL, MOHAMMED BIN
                                                                   Wolosky filed concurrently herewith]

                    22 HAMAD  BIN KHALIFA AL THANI,
                       AHMED AL-RUMAIHI, and DOES 1-
                                                                   The Honorable John F. Walter

                    23 10,                                         Existing Hrg. Date: August 13, 2018
                                                                   Proposed Hrg. Date: August 27, 2018
                    24              Defendants.                    Discovery Cut-Off Date: Not Set
                                                                   Pre-Trial Conference Date: Not Set
                    25                                             Trial Date: Not Set

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                                                                                     Case No. 18-cv-02421-JFW
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                     1            Pursuant to Section 7 of this Court’s Standing Order, ECF No. 17,
                     2 Plaintiffs hereby submit this application to continue the date of the hearing on
                     3 Defendants Stonington Strategies LLC and Nicolas D. Muzin’s (the
                     4 “Stonington Defendants”) Motion to Dismiss the First Amended Complaint.
                     5 The Stonington Defendants’ Motion, filed July 9, 2018, noticed a hearing on
                     6 the Motion for August 13, 2018. (ECF No. 129.) Plaintiffs request that the
                     7 hearing be rescheduled for August 27, 2018 at 1:30 p.m.
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                     8            Good cause exists to continue the Stonington Defendants’ Motion for
F L E X N E R




                     9 three reasons. First, Lead Trial Counsel for Plaintiffs, Lee Wolosky, is not
                   10 available on August 13, 2018. At the time the Stonington Defendants filed
                   11 their motion, they were aware that Amb. Wolosky is unavailable on August
S C H I L L E R




                   12 13, 2018, because he will be taking his oldest child out of state to her first year
                   13 of college. (See Declaration of Lee Wolosky (“Wolosky Decl.”) ¶ 3.) Indeed,
                   14 August 13 is the day on which Amb. Wolosky will be physically moving his
                   15 daughter into her dormitory. (Id.) This is an immovable obligation for Amb.
B O I E S




                   16 Wolosky. (Id.)
                   17             Counsel for the Stonington Defendants have been aware of Amb.
                   18 Wolosky’s unavailability during this period since April, when the parties
                   19 negotiated a Stipulation on scheduling that specifically excluded August 10,
                   20 2018, through August 21, 2018, as possible dates for a Scheduling Conference
                   21 before this Court. (ECF No. 46.)
                   22             Plaintiffs’ counsel reminded counsel for the Stonington Defendants of
                   23 this period of unavailability for Amb. Wolosky during a telephone call on July
                   24 5, 2018, when the Stonington Defendants informed Plaintiffs’ counsel that
                   25 they would file their motion to dismiss on July 9 and schedule it for hearing
                   26 on August 13. (Wolosky Decl. ¶ 5.) The same day, Plaintiffs’ counsel asked
                   27 the Stonington Defendants’ counsel for their consent to this application for a
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                         4811-2742-8971.2
                                                                 -1-                         Case No. 18-cv-02421-JFW
                                      APPLICATION TO CONTINUE HEARING ON STONINGTON DEFENDANTS’ MOTION TO DISMISS
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                     1 continuance. Counsel for the Stonington Defendants refused to provide such
                     2 consent. (Wolosky Decl. at Exh. A.) Counsel for the Stonington Defendants
                     3 have never suggested that they are unavailable on Plaintiffs’ suggested
                     4 hearing date, August 27, 2018.
                     5            Second, good cause exists because Plaintiffs’ proposed date will
                     6 promote judicial efficiency. Pursuant to this Court’s June 7, 2018 order (ECF
                     7 No. 83), Defendants Global Risk Advisors LLC and Kevin Chalker (“GRA
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                     8 Defendants”) will file their motion to dismiss on July 23, 2018, noticing their
F L E X N E R




                     9 hearing for August 27, 2018. Judicial efficiency will be promoted combining
                   10 the hearings for the Stonington Defendants’ motion to dismiss and the GRA
                   11 Defendants at the same time.1
S C H I L L E R




                   12             Third, good cause exists because the Stonington Defendants’ reason for
                   13 refusing consent has already been rejected by this Court. The Stonington
                   14 Defendants explained their opposition as follows: “we read the Court’s July 3
                   15 Order as requiring us to file and notice our motion as quickly as possible.
B O I E S




                   16 Also, Plaintiffs have insisted on pursuing significant discovery before the
                   17 defendants have even responded to the Amended Complaint. It is untenable
                   18 for our clients to delay the hearing any further while unilateral discovery
                   19 continues.” (Wolosky Decl. at Exh. A.) As an initial matter, nothing in the
                   20 Court’s July 3, 2018 order continuing the Stonington Defendants’ motion
                   21 required an August 13, 2018, hearing date. To the contrary, the Court found
                   22 that a continuance of the motion to stay—to July 30, 2018—was warranted
                   23
                       The Court currently has scheduled a hearing on July 30, 2018, for the State
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                      of Qatar’s motion to dismiss (ECF No. 112), and the motions for a stay of
                   25 discovery filed by State of Qatar and the Stonington Defendants. (ECF
                   26 Nos. 80, 81.) Although Plaintiffs do not seek that relief herein, they would
                      not object to continuing all of these motions to August 27, 2018, to promote
                   27 judicial efficiency.
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                         4811-2742-8971.2
                                                                 -2-                         Case No. 18-cv-02421-JFW
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                     1 because the issues purportedly justifying a stay of discovery “have been
                     2 known to the Stonington Defendants’ counsel since the inception of this
                     3 action.” (ECF No. 122 at 2.) The Court thus already has determined that the
                     4 Stonington Defendants’ own delay in filing their motion to dismiss, while
                     5 Plaintiffs have conducted discovery in accordance with this Court’s Standing
                     6 Order and May 7 Order (ECF Nos. 17, 46), shows that there is no urgency to
                     7 their motions. In addition, the motions to stay filed by the State of Qatar and
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                     8 the Stonington Defendants are set for hearing on July 30. If the hearing goes
F L E X N E R




                     9 forward on that date, Plaintiffs’ right to continue to pursue discovery likely
                   10 will be resolved prior to the August 13 hearing date noticed by the Stonington
                   11 Defendants.
S C H I L L E R




                   12            This Court previously has granted joint stipulations extending time for
                   13 Defendants to answer Plaintiffs’ complaint. (See ECF Nos. 43, 83.) In
                   14 addition, the Court has granted a joint stipulation setting a schedule for
                   15 Plaintiffs’ filing of their First Amended Complaint and for the Defendants to
B O I E S




                   16 file dispositive motions or otherwise answer that complaint. See ECF No. 46.
                   17 The Court has recently denied two joint stipulations that would have set the
                   18 hearing dates for the State of Qatar’s and the Stonington Defendants’ motions
                   19 to dismiss for August 6, 2018. (See ECF Nos. 120-121.)
                   20            For the foregoing reasons, Plaintiffs respectfully request that the
                   21 hearing on the Stonington Defendants’ Motion to Dismiss the First Amended
                   22 Complaint be continued and rescheduled for August 27, 2018 at 1:30 p.m.
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                        4811-2742-8971.2
                                                                -3-                         Case No. 18-cv-02421-JFW
                                     APPLICATION TO CONTINUE HEARING ON STONINGTON DEFENDANTS’ MOTION TO DISMISS
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                                                               Respectfully submitted,
                     1
                     2 Dated: July 10, 2018                    BOIES SCHILLER FLEXNER LLP
                     3                                         By:   /s/ Lee S. Wolosky

                     4                                               Lee S. Wolosky
                                                                     Counsel for Plaintiffs
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L L P




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F L E X N E R




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S C H I L L E R




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                                                                 -4-                         Case No. 18-cv-02421-JFW
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                     1                              CERTIFICATE OF SERVICE
                     2            I hereby certify that on July 10, 2018, I caused Plaintiffs’ Application to
                     3 Continue Hearing on Stonington Defendants’ Motion to Dismiss the First
                     4 Amended Complaint and its attachments to be served on the counsel listed
                     5 below, by ECF.
                     6                                                       /s/ Lee S. Wolosky
                     7                                                                     Lee S. Wolosky
L L P




                                                                                       Counsel for Plaintiffs
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                      Mark Y. Chen
F L E X N E R




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S C H I L L E R




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                         4811-2742-8971.2
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